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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
                                                                       -X


  UNITED STATES OF AMERICA,


                                                                                             ORDER
                    -against-
                                                                                 18-CR-204-1(NGG)(VMS)

  KEITH RANIERE,also known as Vanguard,

                                      Defendant.
                                                                        X
  NICHOLAS G. GARAUFIS,United States District Judge.

           Defendant Keith Raniere has been indicted on charges ofracketeering conspiracy,

  racketeering,^ forced labor conspiracy, wire fraud conspiracy, sex trafficking conspiracy, sex

  trafficking, and attempted sex trafficking. (Second Superseding Indictment                      13-40; 44-48.)

  On January 9,2019, Raniere filed a motion to suppress certain evidence and request for a hearing

  pursuant to Frank v. Delaware. 438 U.S. 154(1978)(the "Motion"). (See Mot. to Suppress

  ("Mot.")(Dkt. 269); Mem.in Support of Mot.(Dkt. 269-1).) This court referred the Motion to

  Magistrate Judge Vera M. Scanlon for a report and recommendation("R&R"). (See Feb. 6,

  2019 Min. Entry.) On March 14, 2019, Judge Scanlon issued an R&R in which she

  recommended that the court deny the Motion in its entirety. (See R&R(Dkt. 451)at 1.)

           On March 28,2019,Raniere informed the court that after reviewing the R&R,he

  "concluded that[he] do[es] not have a basis to set aside its findings." (Letter re: R&R

  (Dkt. 476).) The time to object to the R&R has also passed. S^ 28 U.S.C. § 636(b)(1)(c);

  Fed. R. Crim. P. 59(a). The court therefore reviews the R&R for clear error. S^ 28 U.S.C.



 'This charge includes predicate acts of conspiracy to commit identity theft, sexual exploitation ofa child,
 possession of child pornography, conspiracy to alter records for use in an official proceeding, money laundering,
  trafficldng and document servitude, state law extortion, visa fraud, sex trafficking, and forced labor. (Second
  Superseding Indictment(Dkt. 430)Iff 16-40.)

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  § 636(b)(1)(A); Fed. R. Crim. P. 59(a); United States v. Blake. No. 14-CR-0312(CBA)(SMG),

  2014 WL 6606692, at *1 (E.D.N.Y. Nov. 19, 2014)("To accept those portions ofthe R & R to

  which no timely objection has been made,a district court need only satisfy itself that there is no

  clear error on the face of the record."(citation and quotation marks omitted)).

         Finding no clear error in the R&R,the court ADOPTS IN FULL the R&R and DENIES

  Raniere's motion to suppress certain evidence and request for a Franks hearing (Dkt. 451).

         SO ORDERED.

                                                                          s/Nicholas G. Garaufis
  Dated: Brooklyn, New York                                           NICHOLAS G. GARAUFl
         April     2019                                               United States District Judge
